Case 1:17-cv-00289-JMS-MJD Document 205 Filed 12/27/18 Page 1 of 2 PageID #: 2757



                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION
     MICHAEL RAY STAFFORD,                        )
     CHARLES SMITH and DOUGLAS SMITH,             )
     individually, and on behalf of those         )
     similarly situated,                          )
                                                  )
                    Plaintiffs,                   )
                                                  )
            v.                                    )   Case No. 1:17-cv-289-JMS-MJD
                                                  )
      ROBERT E. CARTER, JR., et al.,              )
                                                  )
                    Defendants.                   )

             ORDER ON PLAINTIFFS’ MOTION TO CONVERT TRIAL TO
                            REMEDY HEARING

            This matter having come before the Court on Plaintiffs’ Motion to Convert Trial

     to Remedy Hearing, and the Court being duly advised in the premises finds that the

     Motion [203] should be GRANTED.

            WHEREFORE, IT IS ORDERED, ADJUDGED, and DECREED that said

     Motion is approved by the Court, and that:

            1.   The trial set for 9:00 a.m., February 25, 2019, shall be converted to a remedy

                 hearing;

            2. Plaintiffs’ remedy brief shall be due on or before the 22nd day of January, 2019;

            3. Defendants’ response to Plaintiffs’ remedy brief shall be due on or before the

                 5th day of February, 2019;

            4. Plaintiffs’ reply shall be due on or before the 12th day of February, 2019; and

            5. The final pretrial conference set for 9:00 a.m., January 31, 2019 shall be

                 continued and will be re-set when and if a trial becomes necessary.



             Date: 12/27/2018
Case 1:17-cv-00289-JMS-MJD Document 205 Filed 12/27/18 Page 2 of 2 PageID #: 2758




     Distribution:

     All ECF-registered counsel of record via e-mail generated by the court’s ECF system.




                                                2
